Case 1:23-cv-03773-SDG-JKL Document 5 Filed 10/13/23 Page 1 of 2

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Northern = Bistict of Georgia OCT 13 2023
KEVI WEIMER, Clerk
me / Joes
NOtha, Cochran, Plantife X
VS X cit Docket Case Number:
Shariff Patrick Lebel, % 1:23-CV-03773- SbG- TKL

Delenclant x

Motion For Appeintment of

5 COUN Se —
Pursuont to 28 US.C.% 19.15 (e) G) Plamtnfe meves for
Gn order appointing Counsel] to represent him In this
case. In suppers sf this mothon plaintiff states?
L. Plainhfe is Unable ts afford Counsel. His request 4p proceed
in Forma Fauperis hes ween GR ANT<D
2. Plunk imprisonment is greatly limiting his ability ‘te litigate
The iSsueg involved in his case are Comopley and requires digaift -

"cant research ond iNvestoerion and has liwted o¢6S +o ty
Law Lioran, ond its limited on the Knowledge of tw lw
3 Plante request Q trial InN his case and Will likely inv d)ue
ConFliching Teshioony Gnd counsel Would be better to enchk

Plaine to presend evidence ana Cross examme Wwimesses,

Wherefore, Plant request thet this Court appoint 01
Attorney, Wire iS O Member of the bar. Werth ex penene,
QS Counsel 'N this case
JO-\O- 202%

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